                3:19-cr-30032-SEM-TSH # 80   Page 1 of 10
                                                                               E-FILED
                                                      Monday, 24 May, 2021 05:23:55 PM
                                                          Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,             )
                                      )
          Plaintiff,                  )
                                      )
     v.                               )      Case No. 19-cr-30032
                                      )
JAMES NICHOLS,                        )
                                      )
          Defendant.                  )

                              OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court is Defendant James Nichols’ third pro se

motion for compassionate release (d/e 73) and defense counsel’s

amended motion for compassionate release (d/e 77) requesting a

reduction in Defendant’s term of imprisonment pursuant to 18

U.S.C. § 3582(c)(1)(A). For the reasons set forth below, the motions

are DENIED.

                         I. BACKGROUND

     On December 11, 2019, Defendant James Nichols pled guilty

to one count of possession with intent to distribute 40 grams or

more of a substance containing fentanyl and 10 grams or more of a

substance containing a fentanyl analog, in violation of 21 U.S.C. §§


                            Page 1 of 10
                3:19-cr-30032-SEM-TSH # 80   Page 2 of 10




841(a)(1) and (b)(1)(B). On April 30, 2020, Defendant was

sentenced to 90 months of imprisonment and a term of 4 years of

supervised release. Defendant is currently serving his sentence at

FCI Forrest City Low and has a projected release date of November

6, 2025.

     On May 18, 2020, Defendant filed a pro se motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). See

d/e 38. On May 22, 2020, following the appointment of counsel to

represent Defendant, an Amended Motion for Compassionate

Release was filed. See d/e 43. On June 4, 2020, the Court denied

Defendant’s pro se motion and amended motion for compassionate

release. At the time of that denial, Defendant was in the custody of

the U.S. Marshal at Macon County jail.

     On November 18, 2020, Defendant filed a second pro se

motion for compassionate release (d/e 53). Defendant retained

defense counsel, who filed two motions for extensions of the briefing

deadlines to allow time for Defendant to file a motion for

compassionate release with the warden of his BOP facility once

Defendant was transferred. On January 8, 2021, defense counsel

filed an amended motion for compassionate release or, in the


                            Page 2 of 10
                3:19-cr-30032-SEM-TSH # 80   Page 3 of 10




alternative, for a recommendation for release on home confinement.

On January 20, 2021, the Court denied Defendant’s second pro se

motion and amended motion for compassionate release. See

Opinion, d/e 71. The Court found that Defendant failed to meet the

exhaustion requirement of 18 U.S.C. § 3582(c)(1)(A) because he did

not present evidence of exhaustion and the government contended

that Defendant did not file a request with the warden of Defendant’s

facility. Id. at 4-5. Additionally, the Court noted that Defendant

failed to provide an adequate release plan after the Court

considered multiple release plans submitted by Defendant. Id. at 5-

6.

     Thereafter, on April 14, 2021, Defendant filed a third motion

for compassionate release arguing that he has now exhausted his

administrative remedies and has a suitable release plan. See d/e

73, p. 1. The Government filed a response arguing that a

reconsideration of the 18 U.S.C. § 3553(a) factors does not warrant

release. See d/e 78, p. 2.

                             II. ANALYSIS

     As a general matter, the Court is statutorily prohibited from

modifying a term of imprisonment once it has been imposed. See


                             Page 3 of 10
                 3:19-cr-30032-SEM-TSH # 80   Page 4 of 10




18 U.S.C. § 3582(c). However, several statutory exceptions exist,

one of which allows the Court to grant a defendant compassionate

release if certain requirements are met. See 18 U.S.C. §

3582(c)(1)(A).

     Section 603(b)(1) of the First Step Act amended the statutory

language at 18 U.S.C. § 3582(c)(1)(A). See First Step Act of 2018,

Pub. L. No. 115-391, 132 Stat 5194. Prior to the First Step Act, the

Court could grant a defendant compassionate release only if the

Director of the BOP filed a motion seeking that relief. With the

enactment of the First Step Act, 18 U.S.C. § 3582(c)(1)(A) now

allows an inmate to file with the Court a motion for compassionate

release, but only after exhausting administrative review of a BOP

denial of the inmate’s request for BOP to file a motion or waiting 30

days from when the inmate made his or her request, whichever is

earlier. The statute now provides as follows:

     The court, upon motion of the Director of the Bureau of
     Prisons, or upon motion of the defendant after the
     defendant has fully exhausted all administrative rights to
     appeal a failure of the Bureau of Prisons to bring a
     motion on the defendant’s behalf or the lapse of 30 days
     from the receipt of such a request by the warden of the
     defendant’s facility, whichever is earlier, may reduce the
     term of imprisonment (and may impose a term of
     probation or supervised release with or without


                             Page 4 of 10
                3:19-cr-30032-SEM-TSH # 80   Page 5 of 10




     conditions that does not exceed the unserved portion of
     the original term of imprisonment), after considering the
     factors set forth in section 3553(a) to the extent that they
     are applicable, if it finds that—

     (i) extraordinary and compelling reasons warrant such a
     reduction . . . and that such a reduction is consistent
     with applicable policy statements issued by the
     Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).

     The Seventh Circuit has held that the exhaustion requirement

of 18 U.S.C. § 3582(c)(1)(A) “is a mandatory, claim-processing rule

and therefore must be enforced when properly invoked.” United

States v. Sanford, No. 20-2445, 2021 WL 236622, at *3 (7th Cir.

2021).

     In this case, Defendant presented proof that he submitted a

request to the warden of Defendant’s facility on January 5, 2021.

See d/e 73, p. 4. Thirty days have lapsed since Defendant

submitted the request via electronic means. Id. Further, the

Government did not argue that Defendant failed to exhaust his

administrative remedies. See Response, d/e 78. Therefore, the

Court finds that Defendant has met the exhaustion requirement

found in 18 U.S.C. § 3582(c)(1)(A).

     Defendant has previously argued to this Court that his health


                             Page 5 of 10
                 3:19-cr-30032-SEM-TSH # 80   Page 6 of 10




conditions combined with the COVID-19 pandemic in prison

presents extraordinary and compelling reasons that warrant

compassionate release. Defendant argues that he suffers from high

blood pressure, excessive fluid, obesity, deep vein thrombosis, and

severe obstructive sleep apnea. See Request to Warden, d/e 73, p.

4; Medical Records, d/e 76, pp. 22-23. The Government does not

object to that argument. See d/e 78, p. 2 (“The defendant’s various

medical conditions present an increased risk of serious

complications should he contract the COVID-19 virus. Therefore,

the defendant has established that extraordinary and compelling

circumstances exist for this Court to consider the defendant’s

release.”).

     The Court briefly notes that FCI Forrest City Low has no active

cases of COVID-19 at the present. See COVID-19 Cases, Federal

Bureau of Prisons, https://www.bop.gov/coronavirus/ (last

accessed May 19, 2021).

     Regardless, the Court must also reconsider the 3553(a)

factors. See 18 U.S.C. § 3582(c)(1)(A) (“The court . . . may reduce

the term of imprisonment . . . after considering the factors set forth

in section 3553(a) to the extent that they are applicable, if it finds


                             Page 6 of 10
                3:19-cr-30032-SEM-TSH # 80    Page 7 of 10




that – extraordinary and compelling reasons warrant such a

reduction . . . and that such a reduction is consistent with

applicable policy statements issued by the Sentencing

Commission.”). On April 30, 2020, Defendant was sentenced to 90

months imprisonment, which was based on a binding Rule

11(c)(1)(C) plea agreement. Defendant has over 4 years and 5

months until he is likely released from BOP custody. Moreover,

Defendant has a lengthy criminal history. In 2002, Defendant was

sentenced to BOP and was released in 2011. After his release,

Defendant was twice revoked on supervised release. See Case No.

01-cr-30116. Defendant was released on March 23, 2018, and then

committed the instant offenses in April 2019. During Defendant’s

previous incarcerations with BOP, Defendant was sanctioned for

possessing a hazardous tool, possessing a non-hazardous tool,

introducing alcohol into the facility, and using mail without

authority. See d/e 78, p. 3.

     In this case, Defendant possessed with intent to distribute a

large quantity – 95.9 grams – of heroin that contained fentanyl and

furanyl fentanyl. After Defendant’s arrest, Defendant cooperated

with federal agents, but the cooperation ended when Defendant


                               Page 7 of 10
                3:19-cr-30032-SEM-TSH # 80   Page 8 of 10




retained $1,000 in DEA official advanced funds. Defendant was

also sanctioned for having unauthorized items, having a verbal

disagreement with a deputy after refusing to go to medical for a

CPAP machine, and having a verbal altercation with 8 other

inmates while in jail while awaiting transfer to BOP. See id. at 4.

     Additionally, in Defendant’s third pro se motion, Defendant

argues that he has a new suitable release plan suggesting that he

will live with his girlfriend who is a “professional child-care worker

who is licensed by the State of Illinois to work closely with the State

and local Department of Child and Family Services (DCFS).” See

d/e 73, p. 2. The U.S. Probation Office conducted a telephone

interview with Defendant’s girlfriend on May 10, 2021. See d/e 79,

p. 1. During the interview, the girlfriend stated that she currently

receives $1,200 a month from DCFS as a foster childcare service

provider and that she is willing to house and financially support

Defendant. Id. After that telephone interview on May 10 and on

May 13, the Probation Officer left voicemails with the girlfriend to

ask whether she currently has foster children at her residence and

whether DCFS would approve Defendant residing at her residence.

Id. As of the filing of the Probation Officer’s report, May 14, 2021,


                             Page 8 of 10
                3:19-cr-30032-SEM-TSH # 80   Page 9 of 10




the girlfriend had never returned the Probation Officer’s phone

calls. Id. Moreover, during the interview, the girlfriend told the

Probation Officer that she had no criminal history. However, based

on the criminal history check conducted by the Probation Officer,

the girlfriend has a lengthy criminal history, including pending

charges for dealing in methamphetamine/amount of 10 or more

grams and possession of methamphetamine possession of 28 or

more grams of methamphetamine in Hendricks Superior Court,

Indiana. Id. at 2.

     While the Court recognizes Defendant’s efforts to find a

suitable release plan, his and his girlfriend’s statements to the

Court and the U.S. Probation Office were false. The information

provided by Defendant and his girlfriend relating to her role with

DCFS is troublesome. The Court finds that Defendant’s proposed

release plan is unsuitable. The Court also finds that even if

Defendant found a suitable release plan, the Court would not

reconsider its position on granting Defendant compassionate

release.

     Based on a reconsideration of the 3553(a) factors, including

the nature and circumstances of the offense, the need to reflect the


                             Page 9 of 10
               3:19-cr-30032-SEM-TSH # 80   Page 10 of 10




seriousness of the offense, and afford adequate deterrence to

criminal conduct, the Court finds that Defendant is not entitled to

compassionate release.

                         III. CONCLUSION

     For the reasons set forth above, Defendant Nichols’s third pro

se motion (d/e 73) and amended motion for compassionate release

(d/e 77) are DENIED. The Court also DENIES AS MOOT

Defendant’s motion docketed as Motion for Reconsideration (d/e 72)

as said motion is identical to Defendant’s third pro se motion for

compassionate release (d/e 73). The Clerk is DIRECTED to send a

copy of this Opinion to FCI Forrest City Low.

ENTER: May 24, 2021.

                          s/ Sue E. Myerscough
                          SUE E. MYERSCOUGH
                          UNITED STATES DISTRICT JUDGE




                           Page 10 of 10
